Case 6:20-cv-00485-JDK-JDL Document 8-1 Filed 12/22/20 Page 1 of 46 PagelID#: 61

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TEXAS

TYLER DIVISION
UNITED STATES OF AMERICA )
v. Case No. 4:17-CV-00842-A
DEVANTE JOHNSON

AFFIDAVIT IN RESPONSE TO CLIENT'S CLAIM OF INEFFECTIVE
ASSISTANCE OF APPELLATE COUNSEL

State-of Texas }
County of McLennan }

BEFORE ME, the undersigned authority, on this date personally
appeared the undersigned affiant, who swore on oath that the following

facts are true:

1. My name is John Kuchera. I am over 21 years of age, of sound mind,
capable of making this affidavit, and fully competent to testify of the
matters stated herein. I have personal knowledge of each of the matters
stated herein.

2. I was appointed by the federal district court for the Eastern District of
Texas to represent Devante Lee Johnson in his appeal of his conviction
and sentence in Case No. 6:17-cr-00072(4).

3. This affidavit is a response to Mr. Johnson’s allegations in his 28 U.S.C.
§ 2255 Motion to Vacate that I (1) failed to communicate with him
regarding his direct appeal, (2) failed to permit him to participate in his
appeal, and (3) failed to raise stronger appellate issues.
Case 6:20-cv-00485-JDK-JDL Document 8-1 Filed 12/22/20 Page 2 of 46 PagelID #: 62

4. On February 27, 2019, I received the briefing notice from the Fifth
Circuit. On that date I sent Mr. Johnson a letter wherein I stated (among
other things): “If there are specific issues that you believe need to be
addressed, let me know and I will consider them.” (See Exhibit A).

5. The February 27th letter was returned to me in late March of 2019
with a notation “inmate no longer at facility.” (See Exhibit B).

6. I was unable to determine Mr. Johnson’s location on the federal Bureau
of Prisons website. I was also not able to determine his location by looking
on the Texas Department of Criminal Justice website. Finally, on April 9,
2019, I called the U.S. Marshals Service for the Eastern District of Texas
and was given Mr. Johnson’s location. On that date, I resent the February
27th letter. (See Exhibit C).

7. On April 15, 2019, I mailed copies of the principal appellate brief and
record excerpts to Mr. Johnson. (See Exhibit D).

8. Shortly thereafter I received a letter from Mr. Johnson wherein he set
forth the issues he believed needed to be addressed. (See Exhibit E).

9. On April 22, 2019, I responded to Mr. Johnson’s letter, advising that I
would be willing to file a supplemental brief if I could be convinced that
I had missed a potentially meritorious issue. I went on to address the
issues Mr. Johnson had raised in his letter. (See Exhibit (F).

10. The remainder of the correspondence between Mr. Johnson and
myself is set forth in chronological order. I responded to each of his
arguments and requests. Mr. Johnson sent me a total of seven letters. I

sent him a total of ten letters. (See Exhibit G).
Ina ' Lethe —

JO . Kuchera, Affiant

 
Case 6:20-cv-00485-JDK-JDL Document 8-1 Filed 12/22/20 Page 3 of 46 PagelID #: 63

SUBSCRIBED AND SWORN TO BEFORE ME on the 3o75 day of
A. venhx, 2020, to certify which witness my hand and official seal.

 

 

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Case 6:20-cv-00485-JDK-JDL Document 8-1 Filed 12/22/20 Page 4 of 46 PagelID#: 64

~ Exhibit A
Case 6:20-cv-00485-JDK-JDL Document 8-1 Filed 12/22/20 Page 5 of 46 PagelID #: 65

Attorney at Law

John Kuchera Telephone (254)754-3075
210N. 6th St. Fax (254)756-2193
Waco, TX 76701

February 27, 2019

Mr. Devante Lee Johnson
Reg. No. 27613-078
Fannin County Jail

2389 Silo Road

Bonham, TX 75418

Re: U.S.A. v. Johnson
6:17-cr-00072 (4)
Appeal No. 18-41111
Mr. Johnson,
1 have been appointed to represent you on appeal.
I have requested the Record. I will be composing a brief, stating the factual and legal
bases for errors I find. You will receive a copy. The Government will then file a response brief.
I usually (not always) file a reply brief to the Government’s brief. The Fifth Circuit then issues its

ruling.

If there are specific issues that you believe need to be addressed, let me know and I will
consider them.

If there will people calling me that you want me to talk to about your case, please write
me and give me their names. Otherwise, I am not allowed to give out information.

Lastly, 1 need for you to keep me informed as to your location.

Sincerely,

John A. Kuchera
Case 6:20-cv-00485-JDK-JDL Document 8-1 Filed 12/22/20 Page 6 of 46 PageID #: 66

Exhibit B
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210 N. 6th St
Waco, TX 76701
Case 6:20-cv-00485-JDK-JDL Document 8-1 Filed 12/22/20 Page 8 of 46 PagelID #: 68

Exhibit C
Case 6:20-cv-00485-JDK-JDL Document 8-1 Filed 12/22/20 Page 9 of 46 PagelID #: 69

Attorney at Law

John Kuchera Telephone (254)754-3075
210 N. 6th St. Fax (254)756-2193
Waco, TX 76701

April 9, 2019
Mr. Devante Lee Johnson
Reg. No. 27613-078
Joe Corley Detention Facility

500 Hillbig
Conroe, Texas 77301

Re:  U/S.A. v. Johnson
6:17-cr-00072 (4)
Appeal No. 18-41111

Mr. Johnson,

I have been appointed to represent you on appeal.

I have requested the Record. I will be composing a brief, stating the factual and legal
bases for errors I find. You will receive a copy. The Government will then file a response brief.
] usually (not always) file a reply brief to the Government’s brief. The Fifth Circuit then issues its

ruling.

If there are specific issues that you believe need to be addressed, let me know and I will
consider them.

If there will people calling me that you want me to talk to about your case, please write
me and give me their names. Otherwise, I am not allowed to give out information.

Lastly, I need for you to keep me informed as to your location.

Sincerely,

John A. Kuchera
Case 6:20-cv-00485-JDK-JDL Document 8-1 Filed 12/22/20 Page 10 of 46 PagelID #: 70

Exhibit D
Case 6:20-cv-00485-JDK-JDL Document 8-1 Filed 12/22/20 Page 11 of 46 PagelID#: 71

Attorney at Law

John Kuchera Telephone (254)754-3075
210N, 6th St. Fax (254)756-2193
Waco, TX 76701

April 15, 2019

Mr. Devante Lee Johnson
Reg. No. 27613-078

Joe Corley Detention Facility
500 Hillbig

Conroe, Texas 77301

Re: U.S.A. v. Johnson
6:17-cr-00072 (4)
Appeal No. 18-41111

Mr, Johnson,
Enclosed are copies of the brief and record excerpts I have filed on your behalf. The next

step will be for the government to file its brief. I will send you a copy.

Sincerely,

John Kuchera
Case 6:20-cv-00485-JDK-JDL Document 8-1 Filed 12/22/20 Page 12 of 46 PagelID#: 72

Exhibit E
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Case 6:20-cv-00485-JDK-JDL

 

            
 

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Attorney at Low
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- Exhibit F
Case 6:20-cv-00485-JDK-JDL Document 8-1 Filed 12/22/20 Page 18 of 46 PagelID #: 78

Attorney at Law

John Kuchera Telephone (254)754-3075
210 N. 6th St. Fax (254)756-2193
Waco, TX 76701

April 22, 2019
Mr. Devante Lee Johnson
Reg. No. 27613-078
Joe Corley Detention Facility
500 Hillbig
Conroe, Texas 77301

Re: U.S.A. v. Johnson
6:17-cr-00072 (4)
Appeal No. 18-41111
Mr. Johnson,

Iam in receipt of your April 14th letter. I also spoke with Brittany Black last week about
your concern that your appellate brief had been filed with the Fifth Circuit before I had gotten your
letter asking me to hold off filing the brief. I can understand your concern. Here’s what happened.
I initially mailed you a letter on February 27th to the Fannin County Jail. I eventually received it
back with a notation “return to sender.” I tried to locate you but was unable. Your location did
not appear on the federal Bureau of Prisons website; nor did it appear on the TDCJ inmate locator
website. Finaliy, on April 9th, I called the U.S. Marshals Service for the Eastern District of Texas.
They gave me the number of the U.S. Marshals Service for the Southern District and that is where
I finally found out your location.

Iam certainly willing to file a supplemental brief on your behalf if I can be convinced that
I’ve missed a possible meritorious argument. | have reviewed the claims for relief you cited in
your letter. Most of them have to do with ineffective assistance of counsel. In a direct appeal,
which is where you are right now, | can only argue from what is in the record. The record is (1)
the documents that were filed with the district clerk, (2) transcripts of proceedings in open court,
and (3} your PSR. It is clear from the record that you were not happy with your first two lawyers.
On each occasion, the court appointed you a different lawyer. At your sentencing (copy enclosed),
you withdrew your second motion to withdraw your guilty plea (wherein you complained about
your third attorney). Thus, the record as it presently stands does not support an ineffective
assistance argument. Most ineffective assistance claims are made in 2255 motions. You of course

still have that option. I would not be able to assist you with it.

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Case 6:20-cv-00485-JDK-JDL Document 8-1 Filed 12/22/20 Page 19 of 46 PagelID#: 79

In your claims for relief, you mention that you were denied a psychological evaluation.
Being on suicide watch does not require a district court to order an evaluation. Even a suicide
attempt, by itself, does not require a court to order an evaluation. You also mention a motion for
downward variance. You received a downward variance, although it was a small one. Your
advisory sentencing range was 188-235 months and the court sentenced you to 180 months. You
mention “double-counting” your criminal history points because the sentences on your prior
convictions were concurrent. So long as each act of offense conduct was separated by an
intervening arrest, this does not constitute double-counting. Also, based on my reading of the PSR

as to your offense conduct, you would not be successful arguing for a minor role adjustment.

Sincerely,

John Kuchera
Case 6:20-cv-00485-JDK-JDL Document 8-1 Filed 12/22/20 Page 20 of 46 PagelID #: 80

~ Exhibit G
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Case 6:20-cv-00485-JDK-JDL Document 8-1 Filed 12/22/20 Page 26 of 46 PageID #: 86

Attorney at Law

John Kuchera Telephone (254)754-3075
210.N. 6th St. Fax (254)766-2193
Waco, TX 76701

May 7, 2019
Mr. Devante Lee Johnson
Reg. No, 27613-078
Joe Corley Detention Facility
500 Hillbig
Conroe, Texas 77301

Re: U.S.A. v. Johnson
6:17-cr-00072 (4)
Appeal No. 18-41111
Mr. Johnson,

I am in receipt of your letter post-marked May 3rd. You set forth your concern about a
number of sentencing issues, including drug quantity, and criminal history points. The problem
we have is that in your plea agreement, you waived your right to appeal. I’ve enclosed a copy of
the relevant page from your plea agreement.

Additionally, the government has filed a motion to dismiss the issues we have already
raised, based on the waiver of appeal. I’ve enclosed a copy. I will be filing a response in
opposition.

Here’s why I can’t help you with a 2255 motion, should you to decide to file one. The
most commonly raised claim in a 2255 motion is ineffective assistance of counsel. That of course
could include me. That’s why someone other than your trial counsel and appellate counsel needs

to file the motion.

Sincerely,

John Kuchera
Case 6:20-cv-00485-JDK-JDL Document 8-1 Filed 12/22/20 Page 27 of 46 PagelID #: 87

Attorney at Law

John Kuchera Telephone (254)754-3075
210 N. 6th St. Fax (254)756-2193
Waco, TX 76701

May 15, 2019
Mr. Devante Lee Johnson
Reg. No, 27613-078
Joe Corley Detention Facility
500 Hillbig
Conroe, Texas 77301

Re: U.S.A. v. Johnson
6:17-cr-00072 (4)
Appeal No. 18-41111

Mr. Johnson,
Enclosed is a copy of the response I have filed on your behalf in opposition to the
government’s motion to dismiss your appeal.

Sincerely,

John Kuchera
Case 6:20-cv-00485-JDK-JDL Document 8-1 Filed 12/22/20 Page 28 of 46 PagelID #: 88

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Attorney at Law

John Kuchera Telephone (254)754-3075
Z210N. 6th St. Fax (254)}766-2193
Waco, TX 76701

May 20, 2019
Mr. Devante Lee Johnson
Reg. No. 27613-078
FCI Pollock
P.O. Box 4050
Pollock, LA 71467

Re: U.S.A. v. Johnson
6:17-cr-00072 (4)
Appeal No. 18-41111
Mr. Johnson,

Jam in receipt of your letter post-marked May 14th. You indicate there are three instances
of ineffective assistance that should have been raised in your appellate brief. I will address each
one.

You believe your trial counsel rendered ineffective assistance at sentencing by failing to
object to drug quantity and your base offense level of 30. For starters, you stipulated to (that is,
you agreed) in your plea agreement that your base offense level was 30. A stipulation is evidence
all by itself. You also appear to be of the opinion that relevant conduct can only come from counts
10 and 11, the counts to which you pled guilty. Not so. Relevant conduct is in no way restricted
by the counts you pled guilty to. I have included § 1B1.3 of the Sentencing Guidelines with the
definitions highlighted (including the commentary).

You believe your trial counsel rendered ineffective assistance at sentencing by failing to
object to the 2-level upward adjustments for possession of a firearm and distributing
methamphetamine on premises where a minor was present. Again, you stipulated to the
application of both of these adjustments in your plea agreement. Furthermore, in the factual basis
you signed, it states: “During part of this drug transaction, I carried a firearm in my vehicle, which
[ displayed to the confidential informant. Also, during part of the transaction, my daughter, who
is a minor, was present at the scene of the drug distribution.” And when you were asked at your
change of plea hearing whether these facts were true, you said they were.

You also appear to believe your trial counsel rendered ineffective assistance at sentencing

by failing to object to the 3 criminal history points you were assessed in paragraph 45 of your PSR.

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Case 6:20-cv-00485-JDK-JDL Document 8-1 Filed 12/22/20 Page 33 of 46 PagelID #: 93

You don’t explain why you shouldn’t have been assessed these points. I’m guessing this is the
double-counting argument I addressed in my April 22nd letter. You seemed to think that because
you got concurrent sentences for the offenses described in paragraphs 44 and 45, you should not
have been assessed criminal history points for both. Not so. So long as each act of offense conduct
was separated by an intervening arrest, this does not constitute double-counting. According to the
PSR, the offense conduct in paragraph 44 took place on July 26, 2010. The offense conduct in
paragraph 45 took place on January 18, 2012.

In order to argue ineffective assistance, I have to be able to establish two things: (1) your
trial counsel performed deficiently, and (2) you were harmed by his deficient performance.
Nothing in the record as is presently exists demonstrates that your attorney at sentencing performed
deficiently. By the time he was appointed, you had already stipulated to your base offense level
and the enhancements. My opinion regarding the calculation of your criminal history points is that
you are mistaken. | cannot make arguments for which there is no basis in the record. If you were
deceived or lied to by your lawyer(s) to get you to make the above-referenced stipulations, that
would be something to raise in a 2255. But as the record stands right now, there is no basis for me

to make an ineffective assistance argument for the reasons you request.

Sincerely,

John Kuchera
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Attorney at Law

John Kuchera Telephone (254)754-3075
210 N. 6th St. Fax (254)756-2193
Waco, TX 76701

June 11, 2019
Mr. Devante Lee Johnson
Reg. No. 27613-078
FCI Pollock
P.O. Box 4050
Pollock, LA 71467

Re: U.S.A. v. Johnson
6:17-cr-00072 (4)
Appeal No. 18-4111]

Mr. Johnson,
I am in receipt of your letter post-marked June 7th. 1 have enclosed everything you

requested except for the PSR which I am not allowed to send to you.

Sincerely,

John Kuchera
Case 6:20-cv-00485-JDK-JDL Document 8-1 Filed 12/22/20 Page 37 of 46 PagelID #: 97

Attorney at Law

John Kuchera Telephone (254)754-3075
210N. 6th St. Fax (254)756-2193
Waco, TX 76701

June 17, 2019
Mr. Devante Lee Johnson
Reg. No. 27613-078
FCT Pollock
P.O. Box 4050
Pollock, LA 71467

Re: U.S.A. v. Johnson
6:17-cr-00072 (4)
Appeal No. 18-41111
Mr. Johnson,
I regret to inform you that the Fifth Circuit has granted the government’s motion to dismiss
(order enclosed). You have a right to seek further review of your case by filing a petition for writ
of certiorari with the United States Supreme Court. These are seldom granted. However, if you
wish for me to file one on your behalf, please let me know as soon as possible. It must be filed

within 90 days of June 17, 2019.

Sincerely,

John Kuchera
Case 6:20-cv-00485-JDK-JDL Document 8-1 Filed 12/22/20 Page 38 of 46 PagelID #: 98

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Mr. ‘ohn i vihera 6-27-19

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Attorney at Law

John Kuchera Telephone (254)754-3075
210 N. 6th St. Fax (254)756-2193
Waco, TX 76701

July 5, 2019
Mr. Devante Lee Johnson
Reg. No. 27613-078
FC] Pollock
P.O. Box 4050
Pollock, LA 71467

Re: U.S.A. v. Johnson
6:17-cr-00072 (4)
Appeal No. 18-41111
Mr. Johnson,
T am in receipt of your letter post-marked June 28th. I have enclosed a copy of your

change of plea hearing as you requested. The indictment to which you pled is in the record

excerpts which I sent you when I sent you your appellate brief.

Sincerely,

John Kuchera
Case 6:20-cv-00485-JDK-JDL Document 8-1 Filed 12/22/20 Page 41 of 46 PagelID #: 101

Devante Johnson*27 613073
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‘John A. Kuchera

Attorney at Law
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Devante Johnson #27613073
USP Pollock

| P.0. Box 2 094
Pollock; LA WALT

“John A. K uchera

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Attorney at Law

John Kuchera Telephone (254)754-3075
210 N. 6th St. Fax (254)756-2193
Waco, TX 76701

September 19, 2019
Mr. Devante Lee Johnson
Reg. No. 27613-078
FCI Pollock
P.O. Box 4050
Pollock, LA 71467

Re: U.S.A. v. Johnson
6:17-cr-00072 (4)
Appeal No. 18-41 111

Mr. Johnson,

I received your letter postmarked September 10, 2019 (wherein you request that I file a
petition for writ of certiorari on your behalf) on September 13, 2019. The deadline for filing this
petition was September 15, 2019. It is not possible to research and draft this sort of petition in two

days. Therefore, I have not filed one.

Sincerely,

John Kuchera
